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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ACHATES REFERENCE PUBLISHING, §
INC.                                    §
        Plaintiff,                      §
                                        §
vs.                                     §           Case No. 2:09-CV-355 (TJW)
                                        §
BMC Software, Inc., Borland Software    §
Corporation, Citrix Systems, Inc., The  §
MathWorks, Inc., Dassault Systèmes      §           JURY TRIAL DEMANDED
SolidWorks Corp., MindJet, LLC, McAfee §
Corporation, Bentley Systems, Inc., and §
Intuit Inc.                             §
        Defendants.                     §

                                   ORDER OF DISMISSAL

        Came on for consideration, the stipulation of dismissal between Plaintiff Achates and

Defendant MindJet. The Court, having considered this request, is of the opinion that their

request for dismissal should be granted.

        It is THEREFORE ORDERED that the first amended complaint filed in this action

against MindJet, LLC (“MindJet”) by Achates Reference Publishing, Inc. (“Achates”) shall be

and is hereby dismissed with prejudice. Each party hereto shall bear its own costs and fees of

suit.
        SIGNED this 30th day of August, 2010.



                                           __________________________________________
                                           T. JOHN WARD
                                           UNITED STATES DISTRICT JUDGE




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